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         Exhibit	  AA	  
12/14/22, 12:32 PM     Case 1:23-cv-00822-ADA Document        27-20
                                              100 to San Francisco         Filed
                                                                   International    12/22/22
                                                                                 Airport             Page 2 of 2
                                                                                         - Google Maps



                                         1503 Grant Rd #100, Mountain       Drive 25.7 miles, 27 min
                                         View, CA 94040 to San Francisco International Airport




                                                                                              Map data ©2022 Google        2 mi



                     via US-101 N                                               27 min
                     Fastest route now due to traffic                        25.7 miles
                     conditions


      Explore San Francisco International Airport




      Restaurants          Hotels        Gas stations Parking Lots               More




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